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Appellate Case: 16-4040 Document: 01019643844 Date Filed: 06/22/2016 Page: 1
                           United States District Court
                                District of Utah
D. Mark Jones                                                                  Anne W. Morgan
Clerk of Court                                                                 Chief Deputy Clerk

                                         June 22, 2016
Ms. Elisabeth A. Shumaker, Clerk
United States Court of Appeals
for the Tenth Circuit
1823 Stout Street
Denver, CO 80257

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RE:    16-04040
       SCO Grp, et al v. Intl Bus Mach Inc
       Lower Docket: 2:03cv00294 DN

Dear Clerk of Court:

       Please be advised that the record is complete for the purposes of appeal.

Sincerely,

D. Mark Jones, Clerk


By: /s/Aimee Trujillo
Aimee Trujillo
Deputy Clerk

cc: Counsel of Record




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